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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                            Case No. 1:17-CR-109

v.                                                   Hon. Paul L. Maloney

ANDREA KAY WILKES,


               Defendant.
                                /

                            REPORT AND RECOMMENDATION

               Pursuant to W.D. Mich. LCrR 11.1 and upon a request of the district court, I

conducted a felony plea hearing in this matter on October 4, 2017, after receiving the written

consent of the defendant, the defendant's attorney, and the attorney for the government. These

consents were also placed on the record in open court.

               Defendant Andrea Kay Wilkes is charged in Counts 1 and 8 of a multi-count

Indictment with conspiracy to distribute and possess with intent to distribute cocaine, and being a

felon in possession of a firearm, respectively. On the basis of the record made at the hearing, I

found that defendant was competent to enter pleas of guilty and that the pleas were knowledgeable

and voluntary with a full understanding of each of the rights waived by the defendant, that the

defendant fully understood the nature of the charges and the consequences of the pleas, and that

the defendant's pleas had a sufficient basis in fact which contained all of the elements of the

offenses charged.



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               I also inquired into the plea agreement. I found the plea agreement to have been

knowingly and voluntarily made and found that it fully reflected all of the promises made by the

parties.

               Accordingly, I accepted the pleas of guilty, subject to final acceptance of the pleas

by the District Judge, and I specifically reserved acceptance of the plea agreement for the District

Judge. I ordered the preparation of a presentence investigation report.

                                        Recommendation

               Based upon the foregoing, I respectfully recommend that the defendant's pleas of

guilty to Counts 1 and 8 of the Indictment be accepted, that the court adjudicate the defendant

guilty of those charges, and that the written plea agreement be accepted at, or before, the time of

sentencing.



Dated: October 4, 2017                         /s/ RAY KENT
                                                     United States Magistrate Judge



                                     NOTICE TO PARTIES

               You have the right to de novo review by the district judge of the foregoing findings.
Any application for review must be in writing, must specify the portions of the findings or
proceedings objected to, and must be filed and served no later than fourteen (l4) days after the plea
hearing. See W.D. Mich. LCrR 11.1(b). A failure to file timely objections may result in the
waiver of any further right to seek appellate review of the plea-taking procedure. See Thomas v.
Arn, 474 U.S. 140 (1985); Neuman v. Rivers, 125 F.3d 315, 322-23 (6th Cir.), cert. denied, 522
U.S. 1030 (1997); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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